
Per Curiam :
Defendant offered for sale in California, as surplus property, and plaintiffs agreed to buy (among other things), some film described as follows:
Film: Kodak Linograph Shellburst safety film, clear base. Exposure Index 25, 35 MM, 400 Ft. Expiration date May 1957. Est. 322 Polls.
Est. Acquisition Cost: $1,384.60 Apparently Unused— Fair
The price bid for this item was $927.36.
The contract of sale included the following provisions:
1. INSPECTION'.1 Bidders are invited and urged to inspect the property to be sold prior to submitting bids. Property will be available for inspection at the places and times specified in the invitation. The Government will not be obliged to furnish any labor for such purpose. *524In no case will failure to inspect constitute grounds for a claim or for the withdrawal of a bid after opening.
2. CondihoN on PkopeRtx. — All property listed herein is offered for sale “as is” and “where is”, and without recourse against the Government. If it is provided herein that the Government shall load, then “where is” means f.o.b. conveyance at the point specified in the Invitation. The description is based on the best available information, but the Government makes no guaranty, warranty, or representation, expressed or implied, as to quantity, kind, character, quality, weight, size, or description of any of the property, or the fitness for any use or purpose, and no claim will be considered for allowance or adjustment or for rescission of the sale based upon failure of the property to correspond with the standard expected; this is not a sale by sample.
In addition, on each page describing the property offered for sale there appeared the legend: “CAUTION: INSPECT THE PROPERTY.” Plaintiffs, a New York firm, did not inspect the property or arrange for its inspection.
On delivery of the purchased film to plaintiffs’ place of business in New York, it was discovered that the shipment contained 322 rolls of film but that each roll contained film 100 feet long, rather than 400 feet in length. Asserting that 100-foot rolls were useless to it, plaintiffs sought a refund. The contracting officials refused this demand and the Armed Services Board of Contract Appeals affirmed. This suit for $927.36 then followed.
Under a long line of our decisions, plaintiffs have no case. See, e.g.. Alloys &amp; Chems. Corp. v. United States, 163 Ct. Cl. 229, 324 F. 2d 509 (1963); American Auto Parts Co., Inc. v. United States, 162 Ct. Cl. 23 (1963); Montreal Securities, Inc. v. United States, 165 Ct. Cl. 120, 329 F. 2d 956, cert. denied 379 U.S. 826 (1964), and cases cited. This was an “as is” sale of surplus property, in which prospective purchasers were explicitly warned to inspect the goods. Not only was this direction embodied in a standard article entitled “Inspection,” but each page describing the items carried the explicit warning “Caution: Inspect the Property.” Furthermore, the contractual article on “Condition of Property” provided that in this “as is” sale “the Government makes no guaranty, warranty, or representation, expressed or implied, as to quantity, kind, character, quality, weight, size, or descrip*525tion of any of the property, or the fitness for any nse or purpose,” and that no claim would be considered if it was “based upon failure of the property to correspond with the standard expected.” Under these and similar provisions, many other purchasers of surplus property have been held to their bargains, even though the goods turned out to be different in characteristics from those advertised or described by the Government. In such sales the risk is on the purchaser. Plaintiffs, in New York, could have arranged for an agent in California to inspect the property, or they could have taken account, in their bid, of possible deviations from the description. As in our prior decisions, there is no reason to ignore the explicit provisions of the sale.
Plaintiffs bought 322 rolls of film and they received 322 rolls of film2; “this is not a case of ordering apples and getting oranges” (United States v. Silverton, 200 F. 2d 824, 828 (C.A. 1, 1952); Standard Magnesium Corp. v. United States, 241 F. 2d 677, 679 (C.A. 10, 1957)). Krupp v. Federal Housing Administration, 285 F. 2d 833 (C.A. 1, 1961), holding the Government liable for a positive misstatement in an offer of sale, is inapplicable because that contract did not contain the all-inclusive disclaimers of the present contract.
The defendant’s motion for summary judgment is granted, the plaintiffs’ cross-motion is denied, and the petition is dismissed.

 Another provision of the Invitation for bids stated the time and place for inspection of the property.


 The adjustment provided in tie contract article entitled “Adjustment for Variation in Quantity” applied only to tlie number of units received, i.e., the number of rolls, not to the characteristics of the individual rolls. The unit here was the roll. The plaintiffs received the full number of rolls ordered and the adjustment article was therefore inapplicable.

